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                     IN THE DNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division
                                                                         CLERK, U S. DISTRICT COURT   1
                                                                               RICHK^OCD. VA          I
ROBERT CHAMPION,

      Plaintiff,

V.                                                Civil Action No. 3:16CV647


DR. M. DICOCCO, ^ al.,

      Defendants.


                                  MEMORANDUM OPINION


      Robert Champion, a federal inmate proceeding pro se and in

forma pauperis, filed this action seeking relief under Bivens^

and   the    Federal Tort Claims        Act    ("FTCA"),     28   U.S.C.    §§ 1346,

2671, et seq.         The matter is before the Court on the MOTION TO

DISMISS filed by Defendants DiCocco, Laybourn, Ramsey, and the

United      States    {EOF    No. 37)   and    DEFENDANT      YIRGA'S      MOTION     TO

DISMISS OR IN THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT (ECF

No. 45).       By Memorandum Order entered on April 27, 2018, the

Court    converted      the    MOTION    TO    DISMISS      filed   by   Defendants

DiCocco, Laybourn, Ramsey, and the United States into a Motion

for Summary Judgment.             (ECF No. 40.)       For the reasons set forth

below,      the   MOTION     TO    DISMISS    filed    by   Defendants      DiCocco,

Laybourn, Ramsey, and the             United States (ECF No. 37) will be

granted in part and denied in part and DEFENDANT YIRGA'S MOTION

TO DISMISS OR IN         THE ALTERNATIVE, MOTION FOR SUMMARY JUDGMENT

(ECF No. 45) will be granted in part and denied in part.                       Claims

      ^ Bivens v. Six Unknown Named Agents of the Fed. Bureau of
Narcotics, 403 U.S. 388 (1971).
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